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                               IN THE U.S. DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Civil Action No.

LAURIE PACHL

       Plaintiff
vs.

JHCH PROPERTIES LLC, A FOREIGN LIMITED LIABILITY COMPANY

       Defendant

                               COMPLAINT AND JURY DEMAND


       COMES NOW, the Plaintiff through undersigned counsel and complains against the

Defendant as follows:

                                         A. OVERVIEW

       1.      This is premises liability action brought pursuant to C.R.S. §13-21-115. As a

result of a fall that occurred on April 5, 2017, Plaintiff sustained serious injuries and damages.

This fall occurred at the premises owned by the Defendant.

   B. CLAIM BROUGHT IN ACCORD WITH THE FEDERAL TORT CLAIMS ACT

       2.      On January 31, 2019 the Plaintiff submitted a Federal Tort Claims Act against the

United States Postal Service – where this incident occurred – at 56691 East Colfax Avenue,

Strasburg, CO 80186. A copy of the Plaintiff’s Federal Tort Claims Act claim is attached herewith

as Exhibit “A”.

       3.      Plaintiff brings this action solely as a precautionary measure in the event it is

somehow asserted that the Defendant, the actual owner of the premises, has a nondelegable duty

(despite the fact that at the time of this incident, the entity that had control of the premises was in

fact the United States Postal Service), to individuals in the position of the Plaintiff.
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        4.      Plaintiff’s counsel has been previously advised, by this Defendant’s representative,

that “the U.S. Post Office maintains operational control over the premises” and that the Defendant,

JHCH Properties LLC “is an out of possession landlord.”

        5.      Plaintiff brings this action solely as a precautionary measure in the event it is

somehow later asserted that a claim should have been brought against JHCH Properties LLC, the

actual owner of the property.

        6.      Plaintiff encloses herewith as Exhibit “B” a copy of an email received from the

representative of Defendant on December 12, 2017 stating that the claims should be brought

against the United States Postal Service. Again, a claim has been timely submitted to the United

States Postal Service and Plaintiff’s counsel has received acknowledgment of the receipt of her

tort claim from the United States Postal Service. (A copy of their letter to undersigned Plaintiff’s

counsel, dated February 22, 2019 is provided herewith as Exhibit “C”). Plaintiff’s counsel brings

this action now, so that it is filed within two (2) years of the incident, despite the fact that pursuant

to the Federal Tort Claims Act, the Postal Service has six (6) months to respond. If this matter is

not resolved as to the Postal Service within six (6) months (from February 5, 2019), Plaintiff will

seek to amend this Complaint to add the Postal Service as a party Defendant

                                        C.    THE PARTIES

        7.      The Plaintiff in this action is an individual, Laurie Pachl (hereinafter referred to as

“Plaintiff). The Plaintiff resides at 6050 South Kingsburg Street, Strasberg, Colorado 80136.

        8.      The Defendant, JHCH Properties, LLC, (hereinafter referred to as “Defendant”) is

a foreign limited liability company, in good standing, whose principal address is 4527 East 91st

Street, in Tulsa, Oklahoma.


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       9.      Defendant, at the time of this incident, was the owner of the premises in question,

located at 56691 East Colfax Avenue, in Strasberg, Colorado, where the fall occurred.

       10.     At all times pertinent, Defendant is a foreign corporation, having its principal place

of business located in the State of Oklahoma. Defendant is a citizen of the State of Oklahoma

       11.     At the time of the filing of this action, Plaintiff is a citizen of the State of Colorado.

                                        D. JURISDICTION

       12.     The amount in controversy in this action exceeds the sum of $75,000.00.

       13.     This action is brought pursuant 28 U.S.C. §1332 inasmuch as there is diversity of

jurisdiction between the Defendant, an Oklahoma corporation, and Plaintiff, a citizen of the State

of Colorado. Therefore, there is diversity jurisdiction.

                                 E. GENERAL ALLEGATIONS

       13.     This is a premises liability action brought in accord with the Colorado Premises

Liability Act (PLA) C.R.S. 13-21-115.

       14.     At all times pertinent, Plaintiff was a business invitee.

       15.     On Wednesday, April 5, 2017, the Plaintiff came to the local post office in

Strasberg, Colorado, located at 56691 East Colfax Avenue.

       16.     Upon entering the Post Office, she fell over a floor-mat, which had been rolled-up,

and placed in dangerous position, and this constituted what can only be described as a “trip-

hazard.”

       17.     Plaintiff was unable to catch herself upon tripping over the rolled-up flor-mat, fell

forcibly, landed on her head, and sustained serious and substantial neurological injury.

       18.     At all times pertinent, Defendant, as landowner, had a duty to exercise reasonable


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care with respect to dangers created on the premises.

       19.     Defendant unreasonably failed to warn of dangers on the premises.

       20.     The rolled-up floor-mat, as described above, constituted a dangerous condition.

       21.     As a consequence of this dangerous condition, the Plaintiff fell, and sustained

serious and permanent injuries.

       23.     As a direct and proximate result of her injuries, Plaintiff has incurred and will in

the future, incur substantial damages, and losses.

       24.     Plaintiff has incurred economic, as well as non-economic losses.

       WHEREFORE, Plaintiff prays for judgment against the Defendant in a sum reasonable as

and for compensatory damages, costs of this action, expert witness fees, interest at the legal rate,

and for such other and further relief as this Honorable Court deems just and proper in the premises.

          PLAINTIFF REQUESTS THAT THIS MATTER BE HEARD BY A JURY.

DATED this ____ day of March, 2019.

                                      Respectfully submitted,

                                       s/John Astuno, Jr.
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